Opinion issued August 15, 2024




                                        In The

                                Court of Appeals
                                       For The

                           First District of Texas
                              ————————————
                                NO. 01-24-00443-CV
                             ———————————
                   TRENSTON DEON HAWKINS, Appellant
                                          V.
                           STATE OF TEXAS, Appellee


                      On Appeal from 295th District Court
                             Harris County, Texas
                       Trial Court Case No. 2023-83280


                           MEMORANDUM OPINION

      Appellant Trenston Deon Hawkins filed his notice of appeal on June 12, 2024

seeking to challenge the trial court’s judgment signed on March 18, 2024. We

dismiss the appeal for lack of jurisdiction.
      Any party “seek[ing] to alter the trial court’s judgment” must timely file a

notice of appeal. TEX. R. APP. P. 25.1(c). If a party fails to timely file a notice of

appeal, we have no jurisdiction to address the merits of that party’s appeal and must

dismiss the appeal. See TEX. R. APP. P. 25.1(b); In re K.L.L., 506 S.W.3d 558, 560

(Tex. App.—Houston [1st Dist.] 2016, no pet.) (without timely notice of appeal,

appellate court lacks jurisdiction over appeal); Brashear v. Victoria Gardens of

McKinney, L.L.C., 302 S.W.3d 542, 545–46 (Tex. App.—Dallas 2009, no pet.)

(timely filing of notice of appeal is jurisdictional prerequisite).

      A notice of appeal is generally due within thirty days after the trial court signs

its judgment. See TEX. R. APP. P. 26.1. The deadline to file a notice of appeal is

extended to ninety days after the judgment is signed if, within thirty days after the

judgment is signed, a party timely files a motion for new trial, motion to modify the

judgment, motion to reinstate, or, under certain circumstances, a request for findings

of fact and conclusions of law. See TEX. R. APP. P. 26.1(a); see also TEX. R. CIV. P.

329b. The time to file a notice of appeal may also be extended if, within fifteen days

after the deadline to file the notice of appeal, a party files a notice of appeal and a

motion for extension of time to file a notice of appeal that complies with Texas Rule

of Appellate Procedure 10.5(b). See TEX. R. APP. P. 10.5(b), 26.3.

      The trial court signed the challenged final judgment on March 18, 2024. The

record does not reflect that any post-judgment motions extending the deadline to file


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a notice of appeal were filed. Accordingly, Appellant’s notice of appeal was due

within thirty days after the trial court’s judgment was signed—on or before April 17,

2024—or by May 2, 2024 with a fifteen-day extension. See TEX. R. APP. P. 26.1,

26.3. Appellant did not file his notice of appeal of the trial court’s judgment until

June 12, 2024.

      Without a timely filed notice of appeal, we lack jurisdiction over Appellant’s

appeal. See TEX. R. APP. P. 25.1. On July 9, 2024, the Clerk of this Court notified

Appellant that his appeal was subject to dismissal for lack of jurisdiction unless,

within ten days of the date of the notice, he filed a written response demonstrating

that this Court has jurisdiction over his appeal. See TEX. R. APP. P. 42.3(a).

Appellant did not respond.1



      We dismiss the appeal for lack of jurisdiction. See TEX. R. APP. P. 42.3(a),

43.2(f). We dismiss any pending motions as moot.

                                    PER CURIAM

Panel consists of Justices Kelly, Landau, and Rivas-Molloy.


1
      Appellant also failed to pay his appellate filing fee or establish indigence for
      purposes of appellate costs. See TEX. R. APP. P. 5, 20.1. The Clerk of this Court
      notified Appellant that unless he paid the appellate filing fee by August 9, 2024, his
      appeal could be dismissed. See TEX. R. APP. P. 42.3(b). To date, Appellant has not
      paid the appellate filing fee nor established indigence for purposes of appellate
      costs.

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